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013448-0011

Attorneys for Banner Bank


                         UNITED STATES BANKRUPTCY COURT

                                    DISTRICT OF IDAHO


In Re:
                                                    Case No. 17-40973-JMM
WELLS ALAN WYATT,                                   Chapter 7

                      Debtor.

BANNER BANK,
                                                    Adversary No. 18-08006-JMM
                      Plaintiff,

vs.

WELLS ALAN WYATT,

                      Defendant.


           PLAINTIFF’S LIST OF EXHIBITS AND WITNESSES FOR TRIAL

              COMES NOW Plaintiff Banner Bank (“Plaintiff”), by and through its attorneys of

record, Givens Pursley LLP, and identifies its exhibits and witnesses for the trial of the above-

captioned matter that is scheduled for May 22, 2019, and June 12, 2019, at 9:00 a.m. at the U.S.

Bankruptcy Court, 550 W. Fort Street, Boise, Idaho, before the Honorable Joseph M. Meier.




PLAINTIFF’S LIST OF EXHIBITS AND WITNESSES FOR TRIAL - 1                                  14642011.1
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                                          WITNESSES

               Plaintiff intends to call or may call the following witness:

               (a)    Bruce Nelson;

               (b)    Candice Cooley;

               (c)    Wells Wyatt (the “Debtor”);

               (d)    Any witnesses that may be called by the Debtor.

               Plaintiff reserves the right to cross-examine any witnesses called by the Debtor at

the trial, and further reserves the right to call any rebuttal witnesses not identified in this

document. Plaintiff reserves the right to supplement its witness disclosure as necessary.

                                           EXHIBITS

               Plaintiff intends to introduce those exhibits identified on Exhibit A, attached

hereto.   Plaintiff reserves the right to introduce other documents in cross-examination of

witnesses in this matter or in rebuttal. Plaintiff also reserves the right to use as an exhibit any

documents that have been filed with this Court, pursuant to the Court’s ability to take judicial

notice of any such documents.

               DATED this 15th day of May, 2019.

                                                      GIVENS PURSLEY LLP



                                                      By /s/ Randall A. Peterman
                                                        Randall A. Peterman – Of the Firm
                                                        Alexander P. McLaughlin – Of the Firm
                                                        Attorneys for Banner Bank




PLAINTIFF’S LIST OF EXHIBITS AND WITNESSES FOR TRIAL - 2                                    14642011.1
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                              CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on the 15th day of May, 2019, I filed the foregoing
PLAINTIFF’S LIST OF EXHIBITS AND WITNESSES FOR TRIAL electronically through
the CM/ECF system, which caused the following parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:

Patrick J. Geile
pgeile@foleyfreeman.com
abennett@foleyfreeman.com
r59345@notify.bestcase.com




                                                  /s/ Randall A. Peterman
                                                Randall A. Peterman




PLAINTIFF’S LIST OF EXHIBITS AND WITNESSES FOR TRIAL - 3                            14642011.1
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                                                  BANKRUPTCY COURT
                                                      Exhibit List
                                                     Plaintiff
                                       SUBMITTED BY:
 CASE NAME: Banner Bank v. Wyatt                                 COURT DATE:                   CASE NUMBER:
                                                              i|llay 22-23,20t9            18-08006-JMM

 Plaintiff: Banner Bank                                          Defendant: Wells Wyatt

 PlaintifPs Counsel: Randall A. Peterman                         Defendantos Counsel: Patrick Geile



 Exhibit Nos. 100-149                                            Exhibit Nos.
 pRESIDING JUDGE            .   Joseph M. Meier


       EXHIBITS                                                           DESCRIPTION
 NOS.     Date              ADMITTEI)

100       02-12-t8                           Proof of Claim No. 6 filed by Banner Bank

101      06-14-18                            Amended Final Judgment

t02      06-l 2-l      8                     Writ of Execution
 103     07-19-18                            Unsatisfied Return on Writ of Execution

 104      t2-t7-18                           Transcript of V/ells Wyatt Meeting of Creditors

 105      01-29-18                           Transcript of Wells Wyatt Meeting of Creditors

 106      03-05-18                           Rule 2004 Examination of Wells Wyatt

 107      01-15-19                           Transcript of Deposition of Wells Wyatt

 108      0l-17-19                           Rule 2004 Examination of Candice Cooley

 109      l2-14-18                           Transcript of Deposition of David Stirewalt

 110      0l-15-19                           Transcript of 30(b)(6) Deposition of Banner Bank (Bruce Nelson)

 111      09-30-16                           Borrowing Base Certificate - Wyatt Livestock (88015)

 tt2      l0-3 1-l 6                         Borrowing Base Certificate - Wyatt Livestock (880040)

 113      I 1-30-16                          Borrowing Base Certificate - Wyatt Livestock (880049)

 tt4      t2-28-16                           Borrowing Base Certificate - Wyatt Livestock (880067)

 115      01-l 5-17                          Borrowing Base Certificate - Wyatt Livestock (880087)

 116      02-28-17                           Borrowing Base Certificate - Wyatt Livestock (880091)




                                                                                    EXHIBIT A
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                                                    BANKRUPTCY COURT
                                                        Exhibit List
                                                       Plaintiff
                                         SUBMITTED BY:
 CASE NAME: Banner Bank v. Wyatt                                COURT DATE:                   CASE NUMBER:
                                                                I|lday   22-23,2019           l8-08006-JMM

 PlaintÍff: Banner Bank                                         Defendant: Wells Wyatt

 Plaintiffls Counsel: Randall A. Peterman                       Defendant's Counsel: Patrick Geile


 Exhibit   ¡o..       100-149                                   Exhibit Nos.
 pRESIDING JUDGE .              JosePh   M. Meier

        EXHIBITS                                                             DESCRIPTION
 NOS.      Date                 ADMITTEI)
t17        04-08-17                            Borrowing Base Certificate - Wyatt Livestock (880094)

118        05-t2-t7                            Borrowing Base Certificate - Wyatt Livestock (880097)

119        06-16-t7                            Borrowing Base Certificate - Wyatt Livestock (BB0l l0)

 t20       07-20-17                            Borrowing Base Certificate -'Wyatt Livestock (880121)

 I2I       08-l 5-17                           Borrowing Base Certificate - Wyatt Livestock (BB0l39)

 122       vanous                              Borrowing Base Certificates - V/yatt Feeding

 t23       06-22-t5                            Financial Statement - 2014 and 2013 - Wyatt Livestock

 t24       06-22-16                            Financial Statement - 2015 and2014 - Wyatt Livestock

 t2s       06-14-16                            Financial Statement - Wyatt Livestock

 126       08-08-17                            Financial Statement - 2017 - Wyatt Livestock

 t27       06-22-15                            Financial Statement - 2014 and 2013 - Wyatt Feeding

 128       04-l 3-1 5                          Financial Statement - Wyatt Feeding

 129       06-t4-16                            Financial Statement - Wyatt Feeding

 130       04-13-15                            Financial Statement - Wells Wyatt

 IJ 1      09-r4-r7                            Equipment Appraisal - Wyatt Livestock

 t32       09-14-17                            Equipment Appraisal - Wyatt Feeding

 133       05-09-19                             Summary Exhibit - Financial Statement Value vs Appraisal




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                                                BANKRUPTCY COURT
                                                    Exhibit List
                                                       Plaintiff
                                         SUBMITTED BY:
                           'Wyatt
 CASE NAME: Banner Bank v.                                     COURT DATE:                CASE NUMBER:
                                                              lllfay 22-23,2019           18-08006-JMM

 ptaintiff: Banner Bank                                        Defendant: Wells Wyatt

 PlaintifPs Counsel: Randall A. Peterman                       Defendant's Counsel: Patrick Geile


 Exhibit     ¡o..     100-149                                  Exhibit Nos.
 pRESIDING JUDGE . JosephM. Meier

          EXHIBITS                                                      DESCRIPTION
  NOS.       Date               Ä,DMITTEI)

 134        varrous                          Summary Exhibit - Copies of Checks into Wyatt Livestock Account

 l3s        vanous                           Summary Exhibit - V/ire Transfers into Wyatt Livestock Account

 136        vanous                           Patrone Livestock Expense Report and related documents

 137        01-09-17                         PACCAR Financial - W'yatt Livestock

 138        undated                          Notice of Withdrawal from Partnership

 t39        01-30-13                         Statement of Qualification of LLP - Wyatt Feeding LLP

 140        08-19-15                         Signature Card - Wyatt Feeding LLP

 14   I     0s-2s-t6                         Annual Report - Wyatt Feeding LLP

 r42        04-l 8-17                        Amendment to LLP - Wyatt Feeding

 t43        0l-2s-t9                         Oregon Assumed Business Name - Wyatt Livestock

 t44        0l-25-t9                         Oregon Corporation Summary - V/yatt Livestock,Inc.

 145        05-23-17                         V/ithdrawal from Partnership - Wyatt Feeding LLP

 t46        09-17-r3                         Partnership Agreement - Patrone

 t47        01-l 8-19                        Affidavit of Wells Wyatt (DK 047)
 148        0l-l     8-19                    Wells Wyatt's Statement of Undisputed Facts (DK 046)

 t49        03-l 5-19                         Order on Motions to Strike (DK   7l)




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